Case: 1:18-cv-05587 Document #: 1147-1 Filed: 01/27/22 Page 1 of 9 PagelD #:54457

 

Illinois Anti-Predatory

Lending Database
Program

Certificate of Exemption

Report Mortgage Fraud
800-532-8785
_ 16> (2 Oe YT

 

#. 1501666187 Fee: $52.00
Deen Fee:$9.00 RPRF Fee: $1.00

Karen A. Yarbrough
Cook County Recorde: of Deeds
Date: 01/16/2015 03:13 PM Pg: 1 of 8

IUAQO

Doc#: 1504856045 Fee: $54.00 |
Karen A. Yarbrough

Cook County Recorder of Deeds
Date: 02/17/2015 03:26 PM Pg: 1 of S

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The property identified as:

Address:
Street: 7752 S. Muskegon Ave

Street line 2:

City: Chicago

Borrower: EquityBuild, Inc.

it is not owner-occupied.

 

PIN: 21-30-400-034-0000

ZIP Code: 60649

Lender, [he Persons Listed on Exhibit A to the Mortgage c/o Hard Money Company LLC

Loan / Mortgage Amount: $2,250,600.60

This property is located within the program area and is exempt from the requirements of 765 ILCS 77/70 et seq. because

Th conned tua pect egccd et bern eae Codey cae “iL te CALA C -f by kh. be 4 A

Certificate number; 940EBDCA-8054-464E-A6F5-68282BAAC1414 Execution date: 12/30/2Gi4

 

 
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Mail To: tard Mowy Co jana

Soue UW. Plane PE
Ste. 300 “4

Pi wie ax ] 90957 he Above Space For Recorder's Use Only]
MORTGAGE

THIS MORTGAGE ("Security Instrument”) is given on December 30th, 2014. The mortgagor
is EquityBuikd, Inc. ("Borrower").

This Security Instrument is given to The Persons Listed on Exhibit A to the Mortgage C/O Hard
Money Company, LLC whose address is 5068 West Plano Pkwy. #300 Plano, TX 75093
("Lender’).

Borrower owes Lender the principal sum of Two Million Two Hundred Fifty Thousand and 00/100
Dollars (U.S. $2,250,000.00). This debt is evidenced by Borrower's note dated the same date as this
Security Instrument, which provides for a final payment of the full debt, if not paid earlier, due and
payable January 1°, 2017. This Security instrument secures to Lender:

(a) the repayment of the debt evidenced by the Note, with interest, and ail renewals, extension and
modifications; (b) the payment of all other sums, with interest advanced under paragraph 7 to protect
the security of this Security Instrument; and (c) the performance of Borrower's covenants and
agreements under this Security Instrument and the Note. For this purpose, Borrower does hereby
mortgage, grant and convey to Lender the following described property located in COOK County,
lilinois:

PIN: 21-30-400-034-0000

which has the address of 7752 S Muskegon Ave. Chicago, iL 60649 ("Property Address"):

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, rights, appurtenances, rents, royalties, mineral, oil and gas rights and profits, water rights
and stock and all fixtures now or hereafter a part of the property. All replacements and additions shall
also be covered by this Security Instrument. All of the foregoing is referred to in this Security
Instrument as the "Property."
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BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed
and has the right to mortgage, grant and convey the Property and that the Property is
unencumbered, except for encumbrances of record. Borrower warrants and will defend generally the
title to the Property against all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-
uniform covenants with limited variations by jurisdiction to constitute a uniform security instrument
covering real property.

UNIFORM COVENANT. Borrower and Lender covenant and agree as follows:

1. Payment of Principal and Interest; Prepayment and Late Charges. Borrower shall promptly
pay when due the principal of and interest on the debt evidenced by the Note and any prepayment
and late charges due under the Note.

2. Hazard Insurance. Borrower shall keep the improvements now existing or hereafter erected
on the Property insured against loss by fire, hazards included within the term “extended coverage"
and any other hazards for which Lender requires insurance. This insurance shall be maintained in the
amounts and for the periods that Lender requires. The insurance carrier providing the insurance shall
be chosen by Borrower subject to Lender's approval which shall not be unreasonably withheld.

All insurance policies and renewals shall be acceptable to Lender and shall include a standard
mortgage clause. Lender shall have the right to hold the policies and renewals. if Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. In the
event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower.

Unless Lender and Borrower otherwise agree in writing, insurance proceeds shall be applied
to restoration and repair of the Property damaged, if the restoration or repair is economically feasible
and Lender's security is not lessened. If the restoration or repair is not economically feasible or
Lender's security would be lessened, the insurance proceeds shall be applied to the sums secured
by this Security Instrument, whether or not then due, with any excess paid to Borrower. if Borrower
abandons the Property, or does not answer within 30 days a notice from Lender that the insurance
carrier has offered to settle a claim, then Lender may collect the insurance proceeds. Lender may
use the proceeds to repair or restore the Property or to pay sums secured by this Security
Instrument, whether or not then due. The 30-day period will begin when the notice is given.

Uniess Lender and Borrower otherwise agree in writing, any application of proceeds to
principal shall not extend or postpone the due date of the monthly payments referred to in
paragraphs 1 and 2 or change the amount of the payments. If under paragraph 19 the property is
acquired by Lender, Borrower's rights to any insurance policies and proceeds resulting from damage
to the Property prior to the acquisition shail pass to Lender to the extent of sums secured by this
Security Instrument immediately prior to the acquisition.

3. Preservation and Maintenance of Property; Leaseholds. Borrower shall not destroy, damage
or substantially change the Property, allow the Property to deteriorate or commit waste. If this
Security Instrument is on a leasehold, Borrower shall comply with the provisions of the lease, and if
Borrower acquires fee title to the Property, the leasehold and fee title shall not merge unless Lender
agrees to the merger in writing.
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4. Protection of Lender's Rights in the Property: Mortgage !nsurance. if Borrower fails to
perform the covenants and agreements contained in this Security Instrument, or there is a legal
proceeding that may significantly affect Lender's rights in the Property (such as a proceeding in
bankruptcy, probate, for condemnation or to enforce laws or regulations), then Lender may do and
pay for whatever is necessary to protect the value of the Property and Lender's rights in the Property.
Lender's actions may include paying any sums secured by a lien which has priority over this Security
Instrument, appearing in court, paying reasonable attorneys’ fees, and entering on the Property to
make repairs. Although Lender may take action under this paragraph 4, Lender does not have to do
So.

5. Successor and Assigns Bound; Joint and Several! Liability; Co-signers. The covenants and
agreements of this Security Interest shail bind and benefit the successors and assigns of Lender and
Borrower, subject to the provisions of paragraph 9. Borrower's covenants and agreements shall be
joint and several. Any Borrower who co-signs this Security Instrument but does not execute the Note:
(a) is co-signing this Security Instrument only to mortgage, grant and convey the Borrower's interest
in the Property under the terms of this Security Instrument: (b) is not personally obligated to pay the
sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower may
agree to extend, modify, forebear or make any accommodations with regard to the terms of this
Security Instrument or the Note without the Borrower's consent.

6. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by
delivering it or by mailing it by first class mail unless applicable law requires use of another method.
The notice shall be directed to the Property Address or any other address Borrower designates by
notice to Lender. Any notice to Lender shall be given by first class mail to Lender's address stated
herein or any other address Lender designates by notice to Borrower. Any notice provided for in this
Security Instrument shail be deemed to have been given to Borrower or Lender when given as
provided in this paragraph.

7. Governing Law; Severability. This Security instrument shall be governed by federal law and
the law of jurisdiction in which the Property is located. in the event that any provision or clause of this
Security Instrument or Note conflicts with applicable law, such conflict shall not affect other provisions
of this Security Instrument or the Note which can be given effect without the conflicting provision. To
this end the provisions of this Security Instrument and the Note are declared to be severable.

8. Borrower's Copy. Borrower shail be given one conformed copy of the Note and of this
Security Instrument.

9. Transfer of the Property or a beneficial Interest in Borrower. If all or any part of the Property
or any interest in it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred
and Borrower is not a natural person) without Lender's prior written consent, Lender may, at its
option, require immediate payment in full of all sums secured by this Security Instrument. However,
this option shall not be exercised by Lender if exercise is prohibited by federal law as of the date of
this Security Instrument.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is delivered or mailed within
which Borrower must pay all sums secured by this Security instrument. If Borrower fails to pay these
Sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.
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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

10. Release. Upon payment of all sums secured by this Security Instrument, Lender shall
release this Security Instrument without charge to Borrower. Borrower shall pay any recordation
costs.

11. Assignment of Rents and Leases. As additional security for the payment of the
Indebtedness, Mortgagor assigns and transfers to Mortgagee, pursuant to 1953 PA 210, as amended
by 1966 PA 151 (MCLA 554.231 et seq., MSA 26.1137(1) et seq.), all the rents, profits, and income
under all leases, occupancy agreements, or arrangements upon or affecting the Premises (including
any extensions or amendments) now in existence or coming into existence during the period this
Mortgage is in effect. This assignment shall run with the land and be good and valid as against
Mortgagor and those claiming under or through Mortgagor. This assignment shail continue to be
operative during foreclosure or any other proceedings to enforce this Mortgage. If a foreciosure sale
results in a deficiency, this assignment shall stand as security during the redemption period for the
payment of the deficiency. This assignment is given only as collateral security and shall not be
construed as obligating Mortgagee to perform any of the covenants or undertakings required to be
performed by Mortgagor in any leases.|n the event of default in any of the terms or covenants of this
Mortgage, Mortgagee shall be entitled to all of the rights and benefits of MCLA 554.231-.233, MSA
26.1137(1)-(3), and 1966 PA 151, and Mortgagee shall be entitled to collect the rents and income
from the Premises, to rent or lease the Premises on the terms that it may deem best, and to maintain
proceedings to recover rents or possession of the Premises from any tenant or trespasser.Mortgagee
shail be entitled to enter the Premises for the purpose of delivering notices or other communications
to the tenants and occupants. Mortgagee shall have no liability to Mortgagor as a result of those acts.
Mortgagee may deliver all of the notices and communications by ordinary first-class U.S. mail.!f
Mortgagor obstructs Mortgagee in its efforts to collect the rents and income from the Premises or
unreasonably refuses or neglects to assist Mortgagee in collecting the rent and income, Mortgagee
shall be entitled to appoint a receiver for the Premises and the income, rents, and profits, with powers
that the court making the appointment may confer. Mortgagor shall at no time collect advance rent in
excess of one month under any lease pertaining to the Premises, and Mortgagee shall not be bound
by any rent prepayment made or received in violation of this paragraph. Mortgagee shall not have
any obligation to collect rent or to enforce any other obligations of any tenant or occupant of the
Premises to Mortgagor. No action taken by Mortgagee under this paragraph shall cause Mortgagee
to become a "mortgagee in possession."

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
this Security Instrument and in any rider(s) executed by Borrower and recorded with it.

Signed, sealed and delivered in the presence of:

a VAZ __ (SEAL)

Jerry en, BORROWER

[Space Below This Line For Acknowledgement]

STATE OF FLORIDA, Like _ County ss:
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| hereby certify that on this day, before me, an officer duly authorized in the state aforesaid
and in the county aforesaid to take acknowledgements, personally appeared Jerry Cohen, to me
known to be the person described in and who executed the foregoing instrument and acknowledged
that he/she executed the same for the purpose therein expressed.

i, 20j4.

    

My Commission expires:

, {Seal}
cA LOO A
Notary Public

Da uA

WITNESS my hand and official seal in the county and state aforesaid this )Q day of

 

 

Eee

ad oe
or Se EXPJRES July 26, 207 7
(407) 398-0759 FlorkdeNotaryServies.com

 
 

MY COMMISSION #FFOI97 14

JESSICA ANN BAIER

 

 
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Exhibit A
Lender Name Principal Amount Percentage of Loan
Mark E. Young i =| $100,000 4.44%
a
The Kingdom Trust Company, Custodian, FBO Louis $100,000 4.44%
Duane Velez, Account a
The Edward Falkowitz Living Trust $111,000 4.93%
TFG Retirement Trust $46,000 2.04%
Paul Wilmesmeier $50,000 2.22%
Terry L. Merrill & Sheryl R. Merrill $50,000 2.22%
Walter Akita $50,000 2.22%
Alton P. Motes Trust UTA 12-15-11 $43,000 1.91%
American Estate & Trust LC FBO Robert Mennella $50,000 2.22%
Steven and Linda Lipshultz $100,000 4.44%
Mark Mouty $50,000 2.22%
The Income Fund, LLC $150,000 6.67%
Quest IRA, Inc. FBO Francis Webb IRA =| $50,000 2.22%
Penny Adams $75,000 3.33%
Daniel J Martineau $100,000 4.44%
Equity Trust Company Custodian FBO Henry D. $60,000 2.67%
Gallucci beneficiary of DCD Victoria E. Gallucci IRA
2.67% Undivided interest
Equity Trust Company Custodian FBO Gavin Maher $15,000 0.67%
CESA
Equity Trust Company Custodian FBO Travis Maher $10,000 0.44%
CESA
Equity Trust Company Custodian FBO Avery Maher $11,000 0.49%
CESA
Christopher Maher $14,000 0.62%
Christopher Wilson and Brittny Niosi $50,000 2.22%
Self Directed IRA Services, Inc., Custodian FBO Ping $50,000 2.22%
Liu IRA
Scott E. Pammer $70,000 3.11%
Jeremy Hemphill $50,000 2.22%
The Celia Tong Revocable Living Trust, dated $25,000 1.11%
December 22, 2011
iPlanGroup Agent for Custodian FBO Ed Bancroft IRA | $20,000 0.89%
Donald J. and April L. Wegrzyn $50,000 2.22%
Fraser Realty Investments, LLC $100,000 4.44%

 

 
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Hillside Fund, LLC $125,000 5.55%
Matthew T. Boyd $50,000 2.22%
H Derrick, LLC $100,000 4.44%
Arthur L and Dinah F Bertrand $100,000 4.44%
The Anchor Group LLC $25,000 4.119
Gary Burnham Solo 401K Trust $100,000 4.44%
Deborah Mullica $82,255 3.66%
John Wysocki $17,745 0.79%

 

 
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Commitment Number: 1328647

LOT 132 IN DIVISION 2 IN WESTALL SUBDIVISION OF 208 ACRES BEING THE EAST 1/2 OF THE
SOUTHWEST 1/4 AND THE SOUTH EAST FRACTIONAL 1/4 OF SECTION 30 TOWNSHIP 39 NORTH
RANGE 15 EAST OF THE THIRD PRINCIPAL MERIDIAN IN COOK COUNTY, ILLINOIS

21-30-400-034-0000 |
7752 8. MUSKEGON AVE. CHICAGO IL

PRIMARY TITLE SERVICES, LLC

8833 GROSS POINT ROAD #205 - SKOKIE, IL S0077-1859

(P) 847-877-8833 (F} 847-673-8833

A Policy Issuing Ageni for

FIRST AMERICAN TITLE INSURANCE COMPANY
Commitment

Exhibit A (1328647 PFO 326647/18)
